                                       Case: 24-12383                         Doc: 1   Filed: 08/23/24             Page: 1 of 73


 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

            Western District of Oklahoma

 Case number (If known):                           Chapter you are filing under:
                                                   ✔
                                                   ❑       Chapter 7
                                                   ❑       Chapter 11
                                                   ❑
                                                                                                                                          ❑ Check if this is an
                                                           Chapter 12
                                                   ❑       Chapter 13
                                                                                                                                              amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                          06/24
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name
                                               Charles
       Write the name that is on your         First name                                                      First name
       government-issued picture
                                               Eli
       identification (for example, your
                                              Middle name                                                     Middle name
       driver’s license or passport).
                                               Slack
       Bring your picture identification      Last name                                                       Last name
       to your meeting with the trustee.

                                              Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have                Eli
       used in the last 8 years               First name                                                      First name

       Include your married or maiden
       names and any assumed, trade           Middle name                                                     Middle name
       names and doing business as             Slack
       names.                                 Last name                                                       Last name
       Do NOT list the name of any
       separate legal entity such as a
       corporation, partnership, or LLC       Business name (if applicable)                                   Business name (if applicable)
       that is not filing this petition.
                                              Business name (if applicable)                                   Business name (if applicable)




  3.   Only the last 4 digits of your
                                              xxx - xx - 2           9    7     9                             xxx - xx -
       Social Security number or
       federal Individual Taxpayer            OR                                                              OR
       Identification number
                                              9xx - xx -                                                      9xx - xx -
       (ITIN)




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
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 Debtor 1            Charles             Eli                         Slack                                          Case number (if known)
                     First Name          Middle Name                 Last Name


                                          About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):


  4.   Your Employer Identification
                                                      -                                                               -
       Number (EIN), if any.              EIN                                                             EIN


                                                      -                                                               -
                                          EIN                                                             EIN




                                                                                                          If Debtor 2 lives at a different address:
  5.   Where you live
                                           8532 Sw 75th St
                                          Number            Street                                        Number           Street




                                           Oklahoma City, OK 73169-1302
                                          City                                   State    ZIP Code        City                                  State     ZIP Code

                                           Oklahoma
                                          County                                                          County

                                          If your mailing address is different from the one above,        If Debtor 2's mailing address is different from yours, fill
                                          fill it in here. Note that the court will send any notices to   it in here. Note that the court will send any notices to you
                                          you at this mailing address.                                    at this mailing address.


                                          Number            Street                                        Number           Street



                                          P.O. Box                                                        P.O. Box



                                          City                                   State    ZIP Code        City                                  State     ZIP Code




  6.   Why you are choosing this          Check one:                                                      Check one:
       district to file for bankruptcy
                                          ✔ Over the last 180 days before filing this petition, I
                                          ❑                                                               ❑ Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other            have lived in this district longer than in any other
                                                 district.                                                       district.

                                          ❑ I have another reason. Explain.                               ❑ I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                          (See 28 U.S.C. § 1408)




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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 Debtor 1           Charles            Eli                      Slack                                           Case number (if known)
                    First Name         Middle Name              Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           ✔
                                       ❑      Chapter 7
                                       ❑      Chapter 11
                                       ❑      Chapter 12
                                       ❑      Chapter 13



  8.   How you will pay the fee        ✔ I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                       ❑
                                             details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                             check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                             a credit card or check with a pre-printed address.

                                       ❑ I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                             to Pay The Filing Fee in Installments (Official Form 103A).

                                       ❑ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                             judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                             official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                             choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                             103B) and file it with your petition.




  9.   Have you filed for bankruptcy   ✔ No.
                                       ❑
                                       ❑ Yes. District
       within the last 8 years?
                                                                                                 When                        Case number
                                                                                                        MM / DD / YYYY

                                                  District                                       When                        Case number
                                                                                                        MM / DD / YYYY

                                                  District                                       When                        Case number
                                                                                                        MM / DD / YYYY




  10. Are any bankruptcy cases         ✔ No.
                                       ❑
                                       ❑ Yes. Debtor
       pending or being filed by a
       spouse who is not filing this                                                                                     Relationship to you
       case with you, or by a
       business partner, or by an                 District                                     When                      Case number, if known
       affiliate?                                                                                     MM / DD / YYYY


                                                  Debtor                                                                 Relationship to you

                                                  District                                     When                      Case number, if known
                                                                                                      MM / DD / YYYY




  11. Do you rent your residence?      ❑ No. Go to line 12.
                                       ✔ Yes. Has your landlord obtained an eviction judgment against you?
                                       ❑
                                              ✔ No. Go to line 12.
                                              ❑
                                              ❑ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                        as part of this bankruptcy petition.




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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 Debtor 1           Charles                Eli                       Slack                                         Case number (if known)
                    First Name             Middle Name               Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of         ✔ No. Go to Part 4.
                                           ❑
                                           ❑ Yes. Name and location of business
      any full- or part-time
      business?

      A sole proprietorship is a
      business you operate as an                 Name of business, if any
      individual, and is not a separate
      legal entity such as a
      corporation, partnership, or LLC.          Number         Street

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this
      petition.
                                                 City                                               State            ZIP Code

                                                 Check the appropriate box to describe your business:

                                                 ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                 ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                 ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                 ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                 ❑ None of the above

  13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set
      11 of the Bankruptcy Code,           appropriate deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance
      and are you a small business         sheet, statement of operations, cash-flow statement, and federal income tax return or if any of these documents do not
      debtor?                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

      For a definition of small business   ✔ No.
                                           ❑              I am not filing under Chapter 11.

                                           ❑ No.
      debtor, see 11 U.S.C. §
      101(51D).                                           I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                          Bankruptcy Code.

                                           ❑ Yes.         I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                          Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                           ❑ Yes.         I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                          Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                page 4
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 Debtor 1           Charles             Eli                     Slack                                        Case number (if known)
                    First Name          Middle Name             Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any            ✔ No.
                                        ❑
                                        ❑ Yes.
      property that poses or is
      alleged to pose a threat of                 What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                  If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                  Where is the property?
                                                                              Number        Street




                                                                              City                                          State     ZIP Code




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                   page 5
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 Debtor 1           Charles             Eli                      Slack                                          Case number (if known)
                    First Name          Middle Name              Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you        About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                             You must check one:
      receive a briefing about credit
      counseling before you file for    ✔ I received a briefing from an approved credit
                                        ❑                                                               ❑ I received a briefing from an approved credit
      bankruptcy. You must truthfully         counseling agency within the 180 days before I                counseling agency within the 180 days before I
      check one of the following              filed this bankruptcy petition, and I received a              filed this bankruptcy petition, and I received a
      choices. If you cannot do so,           certificate of completion.                                    certificate of completion.
      you are not eligible to file.
                                              Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment
      If you file anyway, the court           plan, if any, that you developed with the agency.             plan, if any, that you developed with the agency.
      can dismiss your case, you will
      lose whatever filing fee you      ❑ I received a briefing from an approved credit                 ❑ I received a briefing from an approved credit
      paid, and your creditors can            counseling agency within the 180 days before I                counseling agency within the 180 days before I
      begin collection activities             filed this bankruptcy petition, but I do not have a           filed this bankruptcy petition, but I do not have a
      again.                                  certificate of completion.                                    certificate of completion.
                                              Within 14 days after you file this bankruptcy petition,       Within 14 days after you file this bankruptcy petition,
                                              you MUST file a copy of the certificate and payment           you MUST file a copy of the certificate and payment
                                              plan, if any.                                                 plan, if any.
                                        ❑ I certify that I asked for credit counseling services         ❑ I certify that I asked for credit counseling services
                                              from an approved agency, but was unable to                    from an approved agency, but was unable to
                                              obtain those services during the 7 days after I               obtain those services during the 7 days after I
                                              made my request, and exigent circumstances                    made my request, and exigent circumstances
                                              merit a 30-day temporary waiver of the                        merit a 30-day temporary waiver of the
                                              requirement.                                                  requirement.
                                              To ask for a 30-day temporary waiver of the                   To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining               requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why you         what efforts you made to obtain the briefing, why you
                                              were unable to obtain it before you filed for                 were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                    bankruptcy, and what exigent circumstances
                                              required you to file this case.                               required you to file this case.

                                              Your case may be dismissed if the court is                     Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a             dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                      briefing before you filed for bankruptcy.

                                              If the court is satisfied with your reasons, you must          If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.        still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved agency,          You must file a certificate from the approved agency,
                                              along with a copy of the payment plan you                      along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case may          developed, if any. If you do not do so, your case may
                                              be dismissed.                                                  be dismissed.

                                              Any extension of the 30-day deadline is granted only           Any extension of the 30-day deadline is granted only
                                              for cause and is limited to a maximum of 15 days.              for cause and is limited to a maximum of 15 days.
                                        ❑ I am not required to receive a briefing about credit          ❑ I am not required to receive a briefing about credit
                                              counseling because of:                                        counseling because of:
                                              ❑ Incapacity. I have a mental illness or a mental             ❑ Incapacity. I have a mental illness or a mental
                                                                deficiency that makes me                                      deficiency that makes me
                                                                incapable of realizing or making                              incapable of realizing or making
                                                                rational decisions about finances.                            rational decisions about finances.
                                              ❑ Disability.     My physical disability causes me            ❑ Disability.     My physical disability causes me
                                                                to be unable to participate in a                              to be unable to participate in a
                                                                briefing in person, by phone, or                              briefing in person, by phone, or
                                                                through the internet, even after I                            through the internet, even after I
                                                                reasonably tried to do so.                                    reasonably tried to do so.
                                              ❑ Active duty. I am currently on active military              ❑ Active duty. I am currently on active military
                                                                duty in a military combat zone.                               duty in a military combat zone.

                                              If you believe you are not required to receive a               If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a              briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.         motion for waiver of credit counseling with the court.


Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 6
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 Debtor 1           Charles               Eli                      Slack                                            Case number (if known)
                    First Name            Middle Name              Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
      have?                                       “incurred by an individual primarily for a personal, family, or household purpose.”
                                                    ❑ No. Go to line 16b.
                                                    ✔ Yes. Go to line 17.
                                                    ❑
                                             16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                  for a business or investment or through the operation of the business or investment.
                                                    ❑ No. Go to line 16c.
                                                    ❑ Yes. Go to line 17.
                                             16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?        ❑      No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any
                                             ✔
                                             ❑      Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      exempt property is excluded                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses are                      ✔ No
                                                           ❑
      paid that funds will be available                    ❑ Yes
      for distribution to unsecured
      creditors?

  18. How many creditors do you                 ✔ 1-49
                                                ❑               ❑ 1,000-5,000             ❑ 25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                    ❑ 50-99         ❑ 5,001-10,000
                                                ❑ 100-199       ❑ 10,001-25,000
                                                ❑ 200-999

  19. How much do you estimate your             ❑ $0-$50,000                       ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      assets to be worth?                       ✔ $50,001-$100,000
                                                ❑                                  ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                                ❑ $100,001-$500,000                ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                                ❑ $500,001-$1 million              ❑ $100,000,001-$500 million                ❑ More than $50 billion

  20. How much do you estimate your             ❑ $0-$50,000                       ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      liabilities to be?                        ✔ $50,001-$100,000
                                                ❑                                  ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                                ❑ $100,001-$500,000                ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                                ❑ $500,001-$1 million              ❑ $100,000,001-$500 million                ❑ More than $50 billion
 Part 7: Sign Below


  For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                 States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.

                                   ✘ /s/ Charles Eli Slack
                                       Charles Eli Slack, Debtor 1
                                       Executed on 08/23/2024
                                                        MM/ DD/ YYYY




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
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 Debtor 1           Charles                 Eli                     Slack                                          Case number (if known)
                    First Name              Middle Name             Last Name



   For your attorney, if you are              I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                         proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                              each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an           11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this     that the information in the schedules filed with the petition is incorrect.
   page.

                                              ✘ /s/ Alex Sullivan                                                    Date 08/23/2024
                                                   Signature of Attorney for Debtor                                        MM / DD / YYYY




                                                   Alex Sullivan
                                                  Printed name

                                                   Luke Homen Law, PLLC
                                                  Firm name

                                                   10313 Greenbriar Pkwy
                                                  Number           Street




                                                   Oklahoma City                                                   OK       73159
                                                  City                                                             State   ZIP Code




                                                  Contact phone (405) 639-2099                       Email address alex@lukehomenlaw.com


                                                   33618                                                           OK
                                                  Bar number                                                       State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 8
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 Fill in this information to identify your case and this filing:

  Debtor 1                 Charles                      Eli                          Slack
                           First Name                  Middle Name                  Last Name

  Debtor 2
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the:                         Western                    District of        Oklahoma

  Case number                                                                                                                                                          ❑ Check if this is an
                                                                                                                                                                         amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ✔ No. Go to Part 2.
        ❑
        ❑ Yes. Where is the property?
                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1                                                       ❑ Single-family home                                                  the amount of any secured claims on Schedule D:
                Street address, if available, or other            ❑ Duplex or multi-unit building                                       Creditors Who Have Claims Secured by Property.
                description                                       ❑ Condominium or cooperative                                         Current value of the            Current value of the
                                                                  ❑ Manufactured or mobile home                                        entire property?                portion you own?
                                                                  ❑ Land
                                                                  ❑ Investment property
                City               State         ZIP Code
                                                                  ❑ Timeshare                                                          Describe the nature of your ownership interest
                                                                  ❑ Other                                                              (such as fee simple, tenancy by the entireties, or
                                                                  Who has an interest in the property? Check one.                      a life estate), if known.
                County
                                                                  ❑ Debtor 1 only
                                                                  ❑ Debtor 2 only                                                      ❑ Check if this is community property
                                                                  ❑ Debtor 1 and Debtor 2 only                                              (see instructions)
                                                                  ❑ At least one of the debtors and another
                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
        you have attached for Part 1. Write that number here ...................................................................................................
                                                                                                                                                                                      $0.00



  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ❑ No
           ✔ Yes
           ❑




Official Form 106A/B                                                                Schedule A/B: Property                                                                             page 1
                                      Case: 24-12383                         Doc: 1              Filed: 08/23/24                     Page: 10 of 73

Debtor Slack, Charles Eli                                                                                                   Case number (if known)



       3.1     Make:                           Ram               Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
               Model:                          1500              ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
               Year:                           2024              ❑ At least one of the debtors and another                            entire property?                portion you own?
               Approximate mileage:                              ❑ Check if this is community property (see                                         $38,756.00                 $38,756.00
                                                                      instructions)
               Other information:




       If you own or have more than one, describe here:

       3.2                                     Indian            Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
               Make:
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
                            Springfield                          ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
               Model:       Darkhorse                            ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another                            entire property?                portion you own?
               Year:                           2023
                                                                 ❑ Check if this is community property (see                                         $19,850.00                 $19,850.00
                                                                      instructions)
               Approximate mileage:

               Other information:

                Motorcycle



 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ❑ No
       ✔ Yes
       ❑

       4.1                                     Patriot           Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
               Make:
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
               Model:                                            ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.

                                               2020
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
               Year:                                             ❑ At least one of the debtors and another                            entire property?                portion you own?
               Other information:                                ❑ Check if this is community property (see                                           $2,000.00                  $2,000.00
                                                                      instructions)
                Cargo trailer




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here ...................................................................................................
                                                                                                                                                                               $60,606.00



  Part 3:          Describe Your Personal and Household Items

 Do you own or have any legal or equitable                  Current value of the portion you own?
 interest in any of the following items?                    Do not deduct secured claims or exemptions.




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 2
                                Case: 24-12383                 Doc: 1          Filed: 08/23/24               Page: 11 of 73

Debtor Slack, Charles Eli                                                                            Case number (if known)



 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                               $1,000.00
                                    Household goods and furnishings


 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                $400.00
                                    Household electronics


 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                $250.00
                                    Clothes


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                $200.00
                                    Costume jewelry




Official Form 106A/B                                                Schedule A/B: Property                                                page 3
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Debtor Slack, Charles Eli                                                                                                                         Case number (if known)



 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                           Two (2) dogs                                                                                                                                                 $0.00
                                                   Two (2) cats

 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ❑ No
       ✔ Yes. Give specific
       ❑                                                                                                                                                                                                     $800.00
            information. .............
                                                   Masonry tools




                                                                                                                                                                                    ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here .................................................................................................................................
                                                                                                                                                                                                          $2,650.00



  Part 4:             Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                   Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured
                                                                                                                                                                                               claims or exemptions.

 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ✔ No
       ❑
       ❑ Yes ...................................................................................................................................................   Cash: ...................


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                                                      Institution name:

                                                                                               FNB&T
                                             17.1. Checking account:                           Account Number: 7921                                                                                          $898.00


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔ No
       ❑
       ❑ Yes .....................          Institution or issuer name:




Official Form 106A/B                                                                              Schedule A/B: Property                                                                                       page 4
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Debtor Slack, Charles Eli                                                                          Case number (if known)



 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
          information about
          them....................   Name of entity:                                                        % of ownership:




 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
          information about
          them....................   Issuer name:




 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ❑ No
       ✔ Yes. List each
       ❑
          account separately. Type of account:         Institution name:

                                     IRA:               Fidelity                                                                     $150.00




Official Form 106A/B                                               Schedule A/B: Property                                             page 5
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Debtor Slack, Charles Eli                                                                                  Case number (if known)



 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ✔ No
       ❑
       ❑ Yes ......................                        Institution name or individual:

                                      Electric:

                                      Gas:

                                      Heating oil:

                                      Security deposit on rental unit:

                                      Prepaid rent:

                                      Telephone:

                                      Water:

                                      Rented furniture:

                                      Other:


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................    Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔ No
       ❑
       ❑ Yes .....................    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...




Official Form 106A/B                                                      Schedule A/B: Property                                           page 6
                                   Case: 24-12383             Doc: 1         Filed: 08/23/24              Page: 15 of 73

Debtor Slack, Charles Eli                                                                          Case number (if known)



 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes. Give specific information about
                them, including whether you                                                                  Federal:
                already filed the returns and
                the tax years. ...................                                                           State:

                                                                                                             Local:


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
                                                                                                             Alimony:

                                                                                                             Maintenance:

                                                                                                             Support:

                                                                                                             Divorce settlement:

                                                                                                             Property settlement:


 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........




Official Form 106A/B                                               Schedule A/B: Property                                                           page 7
                                         Case: 24-12383                            Doc: 1                Filed: 08/23/24                         Page: 16 of 73

Debtor Slack, Charles Eli                                                                                                              Case number (if known)



 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ✔ No
       ❑
       ❑ Yes. Name the insurance company
                   of each policy and list its value. ...            Company name:                                             Beneficiary:                                       Surrender or refund value:




 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........



                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here .................................................................................................................................
                                                                                                                                                                                                $1,048.00



  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ✔ No. Go to Part 6.
       ❑
       ❑ Yes. Go to line 38.
                                                                                                                                                                                    Current value of the
                                                                                                                                                                                    portion you own?
                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                    claims or exemptions.




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                      page 8
                                 Case: 24-12383               Doc: 1       Filed: 08/23/24             Page: 17 of 73

Debtor Slack, Charles Eli                                                                      Case number (if known)



 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe .......
                                 Name of entity:                                                         % of ownership:




 43.   Customer lists, mailing lists, or other compilations

       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                ❑ No
                ❑ Yes. Describe. .........




Official Form 106A/B                                             Schedule A/B: Property                                            page 9
                                          Case: 24-12383                           Doc: 1                Filed: 08/23/24                         Page: 18 of 73

Debtor Slack, Charles Eli                                                                                                              Case number (if known)



 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here .................................................................................................................................
                                                                                                                                                                                                 $0.00



  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.
                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔ No
       ❑
       ❑ Yes ..........................


 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes ..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes ..........................




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                 page 10
                                          Case: 24-12383                              Doc: 1                Filed: 08/23/24                           Page: 19 of 73

Debtor Slack, Charles Eli                                                                                                                  Case number (if known)



 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here .................................................................................................................................
                                                                                                                                                                                                $0.00



  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔               $0.00



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔            $0.00


 56.   Part 2: Total vehicles, line 5                                                                              $60,606.00

 57.   Part 3: Total personal and household items, line 15                                                           $2,650.00

 58.   Part 4: Total financial assets, line 36                                                                       $1,048.00

 59.   Part 5: Total business-related property, line 45                                                                     $0.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                                            $0.00

 61.   Part 7: Total other property not listed, line 54                                            +                        $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                           $64,304.00              Copy personal property total             ➔   +   $64,304.00



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................                               $64,304.00




Official Form 106A/B                                                                         Schedule A/B: Property                                                                              page 11
                                   Case: 24-12383                Doc: 1           Filed: 08/23/24              Page: 20 of 73

 Fill in this information to identify your case:

  Debtor 1            Charles                 Eli                   Slack
                      First Name             Middle Name           Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name           Last Name

  United States Bankruptcy Court for the:               Western               District of     Oklahoma

  Case number
  (if known)                                                                                                                            ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                             04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out
and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific
dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable
statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited
in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount
and the value of the property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

      Part 1:     Identify the Property You Claim as Exempt


 1.    Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
       ❑
       ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2.    For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

       Brief description of the property and        Current value of the       Amount of the exemption you claim             Specific laws that allow exemption
       line on Schedule A/B that lists this         portion you own
       property                                                                Check only one box for each exemption.
                                                    Copy the value from
                                                    Schedule A/B

       Brief             2023 Indian                        $19,850.00
       description:      Springfield
                         Darkhorse
                         Motorcycle                                            ✔
                                                                               ❑            $4,581.00                        Okla. Stat. tit. 31 § 1(A)(13)
       Line from                                                               ❑ 100% of fair market value, up to
       Schedule A/B:        3.2                                                     any applicable statutory limit

       Brief             2020 Patriot                        $2,000.00
       description:      Cargo trailer                                         ✔
                                                                               ❑            $2,000.00                        Okla. Stat. tit. 31 § 1(A)(5)
       Line from                                                               ❑ 100% of fair market value, up to
       Schedule A/B:        4.1                                                     any applicable statutory limit

 3.    Are you claiming a homestead exemption of more than $189,050?
       (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

       ✔ No
       ❑
       ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes


Official Form 106C                                       Schedule C: The Property You Claim as Exempt                                               page 1 of 2
                                   Case: 24-12383         Doc: 1        Filed: 08/23/24              Page: 21 of 73
Debtor 1            Charles             Eli                Slack                         Case number (if known)
                First Name            Middle Name         Last Name



   Part 2:      Additional Page

     Brief description of the property and    Current value of the    Amount of the exemption you claim           Specific laws that allow exemption
     line on Schedule A/B that lists this     portion you own
     property                                                         Check only one box for each exemption.
                                              Copy the value from
                                              Schedule A/B

     Brief              Household goods                $1,000.00
                                                                      ✔
     description:       and furnishings                               ❑        $1,000.00                          Okla. Stat. tit. 31 § 1(A)(3)
     Line from                                                        ❑ 100% of fair market value, up to
     Schedule A/B:            6                                           any applicable statutory limit

     Brief              Household                        $400.00
                                                                      ✔
     description:       electronics                                   ❑         $400.00                           Okla. Stat. tit. 31 § 1(A)(3)
     Line from                                                        ❑ 100% of fair market value, up to
     Schedule A/B:            7                                           any applicable statutory limit

     Brief              Clothes                          $250.00
     description:                                                     ✔
                                                                      ❑         $250.00                           Okla. Stat. tit. 31 § 1(A)(7)
     Line from                                                        ❑   100% of fair market value, up to
     Schedule A/B:        11                                              any applicable statutory limit

     Brief              Masonry tools                    $800.00
     description:                                                     ✔
                                                                      ❑         $800.00                           Okla. Stat. tit. 31 § 1(A)(5)
     Line from                                                        ❑ 100% of fair market value, up to
     Schedule A/B:        14                                              any applicable statutory limit

     Brief              Fidelity                         $150.00
     description:                                                     ✔
                                                                      ❑         $150.00                           Okla. Stat. tit. 60 § 327 & 328
     Line from                                                        ❑   100% of fair market value, up to
     Schedule A/B:        21                                              any applicable statutory limit




Official Form 106C                                  Schedule C: The Property You Claim as Exempt                                       page 2 of 2
                                      Case: 24-12383                 Doc: 1         Filed: 08/23/24              Page: 22 of 73

 Fill in this information to identify your case:

     Debtor 1           Charles                Eli                    Slack
                        First Name             Middle Name            Last Name

     Debtor 2
     (Spouse, if filing) First Name            Middle Name            Last Name

     United States Bankruptcy Court for the:              Western               District of    Oklahoma

     Case number (if
     known)                                                                                                                                 ❑ Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
1.     Do any creditors have claims secured by your property?
       ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List All Secured Claims

 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor           Column A               Column B              Column C
         separately for each claim. If more than one creditor has a particular claim, list the other         Amount of claim        Value of collateral   Unsecured
         creditors in Part 2. As much as possible, list the claims in alphabetical order according to the    Do not deduct the
                                                                                                                                    that supports this    portion
         creditor’s name.                                                                                    value of collateral.
                                                                                                                                    claim                 If any

     2.1 Chrysler Capital                              Describe the property that secures the claim:                  $38,582.00           $38,756.00              $0.00
         Creditor’s Name
                                                        2024 Ram 1500
          PO Box 660335
         Number          Street
                                                       As of the date you file, the claim is: Check all that apply.
                                                       ❑ Contingent
          Dallas, TX 75266                             ❑ Unliquidated
         City               State       ZIP Code       ❑ Disputed
         Who owes the debt? Check one.                 Nature of lien. Check all that apply.
         ✔ Debtor 1 only
         ❑                                             ❑ An agreement you made (such as mortgage or secured car loan)
         ❑ Debtor 2 only                               ❑ Statutory lien (such as tax lien, mechanic’s lien)
         ❑ Debtor 1 and Debtor 2 only                  ❑ Judgment lien from a lawsuit
         ❑ At least one of the debtors and             ❑ Other (including a right to
              another                                      offset)
         ❑ Check if this claim relates to a
              community debt
         Date debt was incurred                        Last 4 digits of account number

         Add the dollar value of your entries in Column A on this page. Write that number here:                    $38,582.00




Official Form 106D                                   Schedule D: Creditors Who Have Claims Secured by Property                                            page 1 of 2
                                Case: 24-12383                Doc: 1         Filed: 08/23/24               Page: 23 of 73
Debtor 1        Charles               Eli                     Slack                            Case number (if known)
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

  2.2 Performance Finance                        Describe the property that secures the claim:                  $15,269.00           $19,850.00                $0.00
      Creditor’s Name
                                                 2023 Indian Springfield Darkhorse
       Po Box 18887
                                                 Motorcycle
      Number         Street
                                                 As of the date you file, the claim is: Check all that apply.
                                                 ❑ Contingent
       Reno, NV 89511-0289
                                                 ❑ Unliquidated
      City              State      ZIP Code
                                                 ❑ Disputed
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred                     Last 4 digits of account number

      Add the dollar value of your entries in Column A on this page. Write that number here:                 $15,269.00
      If this is the last page of your form, add the dollar value totals from all pages.
                                                                                                             $53,851.00
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 2
                                   Case: 24-12383                  Doc: 1           Filed: 08/23/24               Page: 24 of 73

 Fill in this information to identify your case:

  Debtor 1            Charles                 Eli                     Slack
                     First Name              Middle Name              Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the:                Western                District of     Oklahoma

  Case number
  (if known)                                                                                                                                  ❑ Check if this is an
                                                                                                                                                   amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out,
number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case
number (if known).

      Part 1:      List All of Your PRIORITY Unsecured Claims

 1.     Do any creditors have priority unsecured claims against you?
        ✔ No. Go to Part 2.
        ❑
        ❑ Yes.
      Part 2:      List All of Your NONPRIORITY Unsecured Claims

 3.     Do any creditors have nonpriority unsecured claims against you?
        ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        ✔ Yes
        ❑
 4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
        included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
  4.1 Citibank/Best Buy                                                  Last 4 digits of account number                                                       $4,000.00
         Nonpriority Creditor’s Name
                                                                         When was the debt incurred?
         Po Box 6497
         Number              Street
                                                                         As of the date you file, the claim is: Check all that apply.
                                                                         ❑ Contingent
         Sioux Falls, SD 57117-6497                                      ❑ Unliquidated
         City                      State                   ZIP Code      ❑ Disputed
         Who incurred the debt? Check one.
                                                                         Type of NONPRIORITY unsecured claim:
         ✔ Debtor 1 only
         ❑                                                               ❑ Student loans
         ❑ Debtor 2 only                                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
         ❑ Debtor 1 and Debtor 2 only                                         priority claims
         ❑ At least one of the debtors and another                       ❑ Debts to pension or profit-sharing plans, and other similar debts
         ❑ Check if this claim is for a community debt                   ✔ Other. Specify Credit Card
                                                                         ❑
         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 8
                              Case: 24-12383                Doc: 1         Filed: 08/23/24              Page: 25 of 73
Debtor 1        Charles                 Eli                 Slack                           Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.2 Discount Tire                                              Last 4 digits of account number                                                 $1,342.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Po Box 960061
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Orlando, FL 32896-0061                                    ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.3 First United Bk & Trus                                     Last 4 digits of account number                                                 $2,105.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                8/24/2019
       Po Box 130
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Durant, OK 74702
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 2 of 8
                              Case: 24-12383                Doc: 1         Filed: 08/23/24              Page: 26 of 73
Debtor 1        Charles                 Eli                 Slack                           Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.4 Fnb Omaha                                                  Last 4 digits of account number                                                 $4,286.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                11/1/2020
       Po Box 3412
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Omaha, NE 68103
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.5 JCPenney/Synchrony                                         Last 4 digits of account number                                                 $1,867.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       P.O. Box 965009
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Orlando, FL 32896                                         ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3 of 8
                                  Case: 24-12383             Doc: 1        Filed: 08/23/24               Page: 27 of 73
Debtor 1        Charles                 Eli                  Slack                           Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.6 Td Auto Finance                                            Last 4 digits of account number                                                 $13,480.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                3/29/2019
      Po Box 9223
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Farmington Hills, MI 48333
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.7 The Bureaus Inc                                            Last 4 digits of account number                                                  $5,899.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                3/14/2024
      1717 Central St
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Evanston, IL 60201
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Collection
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4 of 8
                              Case: 24-12383                Doc: 1         Filed: 08/23/24              Page: 28 of 73
Debtor 1        Charles                 Eli                 Slack                           Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.8 The Bureaus Inc                                            Last 4 digits of account number                                                 $3,576.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                3/14/2024
       1717 Central St
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Evanston, IL 60201
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Collection
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 5 of 8
                               Case: 24-12383               Doc: 1         Filed: 08/23/24              Page: 29 of 73
Debtor 1        Charles               Eli                    Slack                           Case number (if known)
               First Name             Middle Name           Last Name


   Part 3:      List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
    collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
    agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If
    you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 1. Portfolio Recovery Associates                                 On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.1 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
     Po Box 41067                                                                               ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
    Number         Street
                                                                  Last 4 digits of account number

     Norfolk, VA 23541-1067
    City                         State          ZIP Code
 2. Midland Credit Management                                     On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.2 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
     PO Box 939069                                                                              ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
    Number         Street
                                                                  Last 4 digits of account number

     San Diego, CA 92193
    City                         State          ZIP Code
 3. Portfolio Recovery Associates                                 On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.4 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
     Po Box 41067                                                                               ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
    Number         Street
                                                                  Last 4 digits of account number

     Norfolk, VA 23541-1067
    City                         State          ZIP Code
 4. BQ & Associates, P.C., L.L.O.                                 On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.4 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
     c/o Brandon York                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
     9140 Ward Pkwy Ste 200                                       Last 4 digits of account number
    Number         Street
     Kansas City, MO 64114
    City                         State          ZIP Code
 5. Portfolio Recovery Associates                                 On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.5 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
     Po Box 41067                                                                               ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
    Number         Street
                                                                  Last 4 digits of account number

     Norfolk, VA 23541-1067
    City                         State          ZIP Code
 6. Capital One                                                   On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.7 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
     PO Box 30285                                                                               ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
    Number         Street
                                                                  Last 4 digits of account number

     Salt Lake City, UT 84130
    City                         State          ZIP Code




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6 of 8
                            Case: 24-12383             Doc: 1        Filed: 08/23/24              Page: 30 of 73
Debtor 1        Charles             Eli                Slack                           Case number (if known)
               First Name           Middle Name        Last Name


   Part 3:      List Others to Be Notified About a Debt That You Already Listed - Additional Page
 7. Capital One                                             On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                            Line 4.8 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
     PO Box 30285                                                                         ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                          ❑
    Number         Street
                                                            Last 4 digits of account number

     Salt Lake City, UT 84130
    City                        State       ZIP Code




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                       page 7 of 8
                                 Case: 24-12383                Doc: 1         Filed: 08/23/24           Page: 31 of 73
Debtor 1          Charles                Eli                    Slack                        Case number (if known)
                  First Name            Middle Name            Last Name


      Part 4:     Add the Amounts for Each Type of Unsecured Claim

 6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.



                                                                                                Total claim

 Total claims      6a.   Domestic support obligations                                 6a.                          $0.00
 from Part 1
                   6b.   Taxes and certain other debts you owe the government         6b.                          $0.00

                   6c.   Claims for death or personal injury while you were           6c.                          $0.00
                         intoxicated

                   6d.   Other. Add all other priority unsecured claims.              6d.   +                      $0.00
                         Write that amount here.

                   6e.   Total. Add lines 6a through 6d.                              6e.
                                                                                                                  $0.00



                                                                                                Total claim

 Total claims      6f.   Student loans                                                6f.                          $0.00
 from Part 2
                   6g.   Obligations arising out of a separation agreement or         6g.                          $0.00
                         divorce that you did not report as priority claims

                   6h.   Debts to pension or profit-sharing plans, and other          6h.                          $0.00
                         similar debts

                   6i.   Other. Add all other nonpriority unsecured claims.           6i.   +                 $36,555.00
                         Write that amount here.

                   6j.   Total. Add lines 6f through 6i.                              6j.
                                                                                                              $36,555.00




Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                      page 8 of 8
                                                 Case: 24-12383           Doc: 1      Filed: 08/23/24          Page: 32 of 73


 Fill in this information to identify your case:

     Debtor 1                       Charles              Eli               Slack
                                    First Name           Middle Name      Last Name

     Debtor 2
     (Spouse, if filing)            First Name           Middle Name      Last Name

     United States Bankruptcy Court for the:                        Western District of Oklahoma

     Case number                                                                                                                      ❑ Check if this is an
     (if known)                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                           State what the contract or lease is for

2.1

        Name

        Number             Street

        City                                     State   ZIP Code

2.2

        Name

        Number             Street

        City                                     State   ZIP Code

2.3

        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                        page 1 of 1
                                   Case: 24-12383                Doc: 1            Filed: 08/23/24            Page: 33 of 73

 Fill in this information to identify your case:

  Debtor 1           Charles                  Eli                    Slack
                     First Name              Middle Name             Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name             Last Name

  United States Bankruptcy Court for the:                  Western           District of      Oklahoma

  Case number
  (if known)                                                                                                                             ❑ Check if this is an
                                                                                                                                              amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ✔ No
        ❑
        ❑ Yes
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ✔ No. Go to line 3.
        ❑
        ❑ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
          ❑ No
          ❑ Yes. In which community state or territory did you live?                                     . Fill in the name and current address of that person.


                 Name of your spouse, former spouse, or legal equivalent


                 Number                   Street


                 City                              State                         ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line
        2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                        Column 2: The creditor to whom you owe the debt

                                                                                                       Check all schedules that apply:
 3.1
        Name                                                                                           ❑ Schedule D, line
                                                                                                       ❑ Schedule E/F, line
        Number                          Street
                                                                                                       ❑ Schedule G, line
        City                                       State                                    ZIP Code

 3.2
        Name                                                                                           ❑ Schedule D, line
                                                                                                       ❑ Schedule E/F, line
        Number                          Street
                                                                                                       ❑ Schedule G, line
        City                                       State                                    ZIP Code




Official Form 106H                                                     Schedule H: Codebtors                                                           page 1 of 1
                                        Case: 24-12383            Doc: 1       Filed: 08/23/24                  Page: 34 of 73

 Fill in this information to identify your case:

  Debtor 1                  Charles                Eli             Slack
                           First Name              Middle Name    Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name    Last Name                                                Check if this is:

                                                            Western District of Oklahoma
                                                                                                                           ❑ An amended filing
                                                                                                                           ❑ A supplement showing postpetition
  United States Bankruptcy Court for the:

  Case number                                                                                                                 chapter 13 income as of the following date:
  (if known)

                                                                                                                              MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                           Debtor 1                                             Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status          ✔ Employed ❑ Not Employed
                                                                        ❑                                                   ❑ Employed ❑ Not Employed
     attach a separate page with
     information about additional            Occupation                 Masonry
     employers.
                                             Employer's name            Al Slattery Masonry
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address         10214 Nw 10th St
     Occupation may include student                                     Number Street                                        Number Street
     or homemaker, if it applies.




                                                                        Oklahoma City, OK 73127-7100
                                                                        City                     State      Zip Code         City                State     Zip Code

                                             How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                     For Debtor 1      For Debtor 2 or
                                                                                                                       non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.         2.               $4,550.96                     $0.00

 3. Estimate and list monthly overtime pay.                                             3.   +               $0.00     +               $0.00


 4. Calculate gross income. Add line 2 + line 3.                                        4.               $4,550.96                     $0.00




Official Form 106I                                                      Schedule I: Your Income                                                                 page 1
                                               Case: 24-12383                          Doc: 1              Filed: 08/23/24       Page: 35 of 73

 Debtor 1                 Charles                      Eli                             Slack                                         Case number (if known)
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔    4.          $4,550.96                    $0.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                        5a.           $956.66                    $0.00
       5b. Mandatory contributions for retirement plans                                                         5b.             $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                         5c.           $126.71                    $0.00
       5d. Required repayments of retirement fund loans                                                         5d.             $0.00                    $0.00
       5e. Insurance                                                                                            5e.            $52.00                    $0.00
       5f. Domestic support obligations                                                                         5f.             $0.00                    $0.00
       5g. Union dues                                                                                           5g.             $0.00                    $0.00
       5h. Other deductions. Specify:                                                                           5h.   +         $0.00         +          $0.00
 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                              6.          $1,135.37                    $0.00
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                      7.          $3,415.59                    $0.00
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                 8a.             $0.00                    $0.00
       8b. Interest and dividends                                                                               8b.             $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                8c.             $0.00                    $0.00
       8d. Unemployment compensation                                                                            8d.             $0.00                    $0.00
       8e. Social Security                                                                                      8e.             $0.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.

            Specify:                                                                                            8f.             $0.00                    $0.00
       8g. Pension or retirement income                                                                         8g.             $0.00                    $0.00
       8h. Other monthly income. Specify: See additional page                                                   8h.   +         $0.00         +          $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                    9.              $0.00                     $0.00
 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                  10.         $3,415.59     +               $0.00         =         $3,415.59

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.            $3,415.59
                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:

Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
                                  Case: 24-12383   Doc: 1        Filed: 08/23/24     Page: 36 of 73

 Debtor 1            Charles         Eli           Slack                               Case number (if known)
                     First Name      Middle Name   Last Name




                                                                                                                Amount


   8h. Other monthly income For Debtor 1
       IRA withdrawal                                                                                             $0.00
       Proceeds from motorcycle sale                                                                              $0.00




Official Form 106I                                         Schedule I: Your Income                                page 3
                                        Case: 24-12383                 Doc: 1           Filed: 08/23/24          Page: 37 of 73

 Fill in this information to identify your case:

  Debtor 1                  Charles                 Eli                  Slack
                                                                                                                 Check if this is:
                           First Name               Middle Name         Last Name
                                                                                                                 ❑ An amended filing
  Debtor 2
  (Spouse, if filing)      First Name               Middle Name         Last Name
                                                                                                                 ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                      Western District of Oklahoma
                                                                                                                      MM / DD / YYYY
  Case number
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?
     ✔ No. Go to line 2.
     ❑
     ❑ Yes. Does Debtor 2 live in a separate household?
             ❑ No
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ✔ No
                                               ❑
     Do not list Debtor 1 and                  ❑ Yes. Fill out this information         Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.                                                                                                                                    ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                    4.                    $600.00

     If not included in line 4:
     4a. Real estate taxes                                                                                                    4a.                       $0.00
     4b. Property, homeowner's, or renter's insurance                                                                         4b.                       $0.00
     4c. Home maintenance, repair, and upkeep expenses                                                                        4c.                       $0.00
     4d. Homeowner's association or condominium dues                                                                          4d.                       $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
                                    Case: 24-12383               Doc: 1         Filed: 08/23/24         Page: 38 of 73

 Debtor 1            Charles                Eli                  Slack                                       Case number (if known)
                     First Name             Middle Name          Last Name


                                                                                                                             Your expenses


 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                        $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                 $100.00
       6b. Water, sewer, garbage collection                                                                        6b.                  $30.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                  $85.00

       6d. Other. Specify:                                                                                         6d.                       $0.00
 7.    Food and housekeeping supplies                                                                              7.                  $350.00

 8.    Childcare and children’s education costs                                                                    8.                        $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                   $50.00

 10. Personal care products and services                                                                           10.                  $50.00

 11.   Medical and dental expenses                                                                                 11.                 $100.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                 $200.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                  $20.00

 14. Charitable contributions and religious donations                                                              14.                       $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a. Life insurance                                                                                         15a.                      $0.00
       15b. Health insurance                                                                                       15b.                      $0.00
       15c. Vehicle insurance                                                                                      15c.                $590.00

       15d. Other insurance. Specify:                                                                              15d.                      $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                       $0.00

 17. Installment or lease payments:
       17a. Car payments for Vehicle 1                                                                             17a.                $837.00
       17b. Car payments for Vehicle 2                                                                             17b.                $390.00
       17c. Other. Specify:                                                                                        17c.                      $0.00
       17d. Other. Specify:                                                                                        17d.                      $0.00
 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                       $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                       $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
       20a. Mortgages on other property                                                                            20a.                      $0.00
       20b. Real estate taxes                                                                                      20b.                      $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                      $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                      $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                      $0.00



Official Form 106J                                                          Schedule J: Your Expenses                                                page 2
                                     Case: 24-12383            Doc: 1         Filed: 08/23/24          Page: 39 of 73

 Debtor 1            Charles             Eli                   Slack                                        Case number (if known)
                     First Name          Middle Name           Last Name



 21. Other. Specify:                                                                                              21.    +              $0.00


 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.               $3,402.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                   $0.00
      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.               $3,402.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.               $3,415.59

      23b. Copy your monthly expenses from line 22c above.                                                        23b.       –       $3,402.00
      23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                                23c.                  $13.59



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                               page 3
                                            Case: 24-12383                         Doc: 1             Filed: 08/23/24                     Page: 40 of 73

 Fill in this information to identify your case:

  Debtor 1                      Charles                     Eli                      Slack
                               First Name                  Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                Western District of Oklahoma

  Case number                                                                                                                                                            ❑ Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                             $0.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                            $64,304.00

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                      $64,304.00



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                               $53,851.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                          $0.00

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +            $36,555.00

                                                                                                                                                  Your total liabilities                    $90,406.00

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                    $3,415.59


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                  $3,402.00




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
                                   Case: 24-12383                Doc: 1         Filed: 08/23/24             Page: 41 of 73

Debtor 1            Charles               Eli                    Slack                                             Case number (if known)
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ✔ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
   ❑
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                     $5,016.96




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                            $0.00


    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                   $0.00


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                         $0.00


    9d. Student loans. (Copy line 6f.)                                                                                          $0.00


    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                         $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +                   $0.00


    9g. Total. Add lines 9a through 9f.                                                                                        $0.00




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
                                         Case: 24-12383            Doc: 1        Filed: 08/23/24           Page: 42 of 73


 Fill in this information to identify your case:

  Debtor 1                  Charles                Eli               Slack
                            First Name             Middle Name      Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name      Last Name

  United States Bankruptcy Court for the:                   Western District of Oklahoma

  Case number                                                                                                                     ❑ Check if this is an
  (if known)                                                                                                                           amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                        12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                            . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                      Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Charles Eli Slack
        Charles Eli Slack, Debtor 1


        Date 08/23/2024
                 MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                                        Case: 24-12383              Doc: 1          Filed: 08/23/24          Page: 43 of 73

 Fill in this information to identify your case:

  Debtor 1                  Charles                Eli               Slack
                           First Name              Middle Name      Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name      Last Name

  United States Bankruptcy Court for the:                   Western District of Oklahoma

  Case number                                                                                                                        ❑ Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ❑ Married
    ✔ Not married
    ❑
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                              Dates Debtor 1 lived    Debtor 2:                                             Dates Debtor 2 lived
                                                             there                                                                         there


                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                               Number     Street
                                                           To                                                                             To



    City                            State ZIP Code                                    City                          State ZIP Code



                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                               Number     Street
                                                           To                                                                             To



    City                            State ZIP Code                                    City                          State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 1
                                   Case: 24-12383               Doc: 1        Filed: 08/23/24            Page: 44 of 73

Debtor 1            Charles           Eli                     Slack                                          Case number (if known)
                    First Name        Middle Name             Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                 Debtor 1                                               Debtor 2

                                                 Sources of income          Gross Income                Sources of income           Gross Income
                                                 Check all that apply.      (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)

                                                ✔ Wages, commissions,
                                                ❑                                                      ❑ Wages, commissions,
    From January 1 of current year until the
                                                    bonuses, tips                   $30,436.00             bonuses, tips
    date you filed for bankruptcy:
                                                ❑ Operating a business                                 ❑ Operating a business

    For last calendar year:                     ✔ Wages, commissions,
                                                ❑                                                      ❑ Wages, commissions,
                                                    bonuses, tips                   $44,502.00             bonuses, tips
    (January 1 to December 31, 2023         )
                                   YYYY         ❑ Operating a business                                 ❑ Operating a business

    For the calendar year before that:          ✔ Wages, commissions,
                                                ❑                                                      ❑ Wages, commissions,
                                                    bonuses, tips                   $55,093.00             bonuses, tips
    (January 1 to December 31, 2022         )
                                   YYYY         ❑ Operating a business                                 ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                 Debtor 1                                               Debtor 2

                                                 Sources of income          Gross income from           Sources of income           Gross Income from
                                                 Describe below.            each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the    Proceeds from                          $2,400.00
    date you filed for bankruptcy:              motorcycle trade
                                                                                         $396.00
                                                Retirement
                                                withdrawal


    For last calendar year:                     Retirement                             $3,293.00
    (January 1 to December 31, 2023         )   withdrawal
                                                                                       $3,855.00
                                   YYYY         Gambling income


    For the calendar year before that:          Retirement                             $1,287.00
    (January 1 to December 31, 2022         )   withdrawal
                                   YYYY




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
                                     Case: 24-12383                    Doc: 1       Filed: 08/23/24            Page: 45 of 73

Debtor 1            Charles                 Eli                    Slack                                          Case number (if known)
                    First Name              Middle Name            Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑ No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ❑ No. Go to line 7.
              ❑ Yes.       List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                           paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                           not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔ Yes.
    ❑         Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑ No. Go to line 7.
              ✔ Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
              ❑
                           include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                           an attorney for this bankruptcy case.

                                                              Dates of           Total amount paid         Amount you still owe     Was this payment for…
                                                              payment

             Chrysler Capital                                 7/2024                      $2,512.29                $28,582.00     ❑ Mortgage
             Creditor's Name
                                                                                                                                  ✔ Car
                                                                                                                                  ❑
                                                              6/2024
                                                                                                                                  ❑ Credit card
             PO Box 660335
             Number      Street
                                                              5/2024                                                              ❑ Loan repayment
             Dallas, TX 75266
             City                   State         ZIP Code                                                                        ❑ Suppliers or vendors
                                                                                                                                  ❑ Other

             Performance Finance                              7/2024                      $1,170.00                $15,269.00     ❑ Mortgage
             Creditor's Name
                                                                                                                                  ❑ Car
                                                              6/2024
                                                                                                                                  ❑ Credit card
             Po Box 18887
             Number      Street
                                                              5/2024                                                              ❑ Loan repayment
             Reno, NV 89511-0289
             City                   State         ZIP Code                                                                        ❑ Suppliers or vendors
                                                                                                                                  ✔ Other Motorcycle
                                                                                                                                  ❑


  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3
                                          Case: 24-12383              Doc: 1        Filed: 08/23/24                Page: 46 of 73

Debtor 1             Charles                Eli                    Slack                                             Case number (if known)
                     First Name             Middle Name            Last Name

                                                           Dates of            Total amount paid    Amount you still           Reason for this payment
                                                           payment                                  owe



    Insider's Name


    Number       Street




    City                          State    ZIP Code




  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                           Dates of            Total amount paid    Amount you still           Reason for this payment
                                                           payment                                  owe                        Include creditor’s name



    Insider's Name


    Number       Street




    City                          State    ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                      Nature of the case                      Court or agency                                  Status of the case

                                                      Civil relief less than $10,000:
    Case title        First National Bank
                                                      BREACH OF AGREEMENT -                  District Court for Oklahoma                     ✔ Pending
                                                                                                                                             ❑
                      of Omaha v. Charles
                      Slack                           CONTRACT                               County
                                                                                             Court Name
                                                                                                                                             ❑ On appeal
                                                                                             321 Park Avenue                                 ❑ Concluded
    Case number CS-2024-3308
                                                                                             Number       Street
                                                                                             Oklahoma City, OK 73102
                                                                                             City                      State     ZIP Code




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 4
                                          Case: 24-12383              Doc: 1        Filed: 08/23/24            Page: 47 of 73

Debtor 1            Charles                 Eli                    Slack                                          Case number (if known)
                    First Name              Middle Name            Last Name



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.
                                                                    Describe the property                                Date               Value of the property



    Creditor’s Name



    Number     Street                                               Explain what happened

                                                                   ❑ Property was repossessed.
                                                                   ❑ Property was foreclosed.
                                                                   ❑ Property was garnished.
    City                           State    ZIP Code               ❑ Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                            Describe the action the creditor took                      Date action was     Amount
                                                                                                                       taken
    Creditor’s Name



    Number     Street



    City                          State    ZIP Code
                                                           Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
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Debtor 1             Charles                Eli                  Slack                                          Case number (if known)
                     First Name             Middle Name          Last Name

     Gifts with a total value of more than $600           Describe the gifts                                        Dates you gave       Value
     per person                                                                                                     the gifts



    Person to Whom You Gave the Gift




    Number     Street



    City                            State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities          Describe what you contributed                                Date you              Value
     that total more than $600                                                                                 contributed



    Charity’s Name




    Number     Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                           Date of your loss     Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
                                    Case: 24-12383              Doc: 1        Filed: 08/23/24            Page: 49 of 73

Debtor 1            Charles             Eli                  Slack                                          Case number (if known)
                    First Name          Middle Name          Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                              Description and value of any property transferred            Date payment or        Amount of payment
    Luke Homen Law, PLLC                                                                                   transfer was made
    Person Who Was Paid                       Attorney’s Fee and Filing Fee
                                                                                                                                           $2,200.00
    10313 Greenbriar Pkwy
    Number     Street




    Oklahoma City, OK 73159
    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of any property transferred            Date payment or        Amount of payment
                                                                                                           transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 7
                                    Case: 24-12383              Doc: 1        Filed: 08/23/24            Page: 50 of 73

Debtor 1            Charles             Eli                  Slack                                          Case number (if known)
                    First Name          Middle Name          Last Name

                                               Description and value of property        Describe any property or payments             Date transfer was
                                               transferred                              received or debts paid in exchange            made
    David Stanley Dodge                       2019 Ram 1500 with debt                  Vehicle traded for 2024 Ram 1500 with
    Person Who Received Transfer                                                       debt                                           6/2024
    7609 Se 29th St
    Number     Street


    Oklahoma City, OK 73110-5802
    City                   State   ZIP Code


    Person's relationship to you
    Dealership

                                              2018 Yamaha Star Eluder with debt        Vehicle traded for 2023 Indian Springfield
    Indian Motorcycle of OKC                                                           Darkhorse with debt. Debtor received           6/2024
    Person Who Received Transfer                                                       $2400, used to pay for bankruptcy.


    Number     Street



    City                   State   ZIP Code


    Person's relationship to you
    Dealership



  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of the property transferred                                       Date transfer was
                                                                                                                                      made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 8
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Debtor 1            Charles              Eli                  Slack                                            Case number (if known)
                    First Name           Middle Name          Last Name

                                                Last 4 digits of account number         Type of account or      Date account was          Last balance
                                                                                        instrument              closed, sold, moved, or   before closing or
                                                                                                                transferred               transfer

    Name of Financial Institution
                                                XXXX–                                ❑ Checking
                                                                                     ❑ Savings
    Number      Street
                                                                                     ❑ Money market
                                                                                     ❑ Brokerage
                                                                                     ❑ Other
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Who else had access to it?                   Describe the contents                        Do you still have
                                                                                                                                           it?

                                                                                                                                          ❑ No
    Name of Financial Institution               Name
                                                                                                                                          ❑ Yes

    Number      Street                          Number    Street



                                                City                 State   ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Who else has or had access to it?            Describe the contents                        Do you still have
                                                                                                                                           it?

                                                                                                                                          ❑ No
    Name of Storage Facility                    Name
                                                                                                                                          ❑ Yes

    Number      Street                          Number    Street



                                                City                 State   ZIP Code

    City                   State    ZIP Code




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 9
                                    Case: 24-12383                 Doc: 1           Filed: 08/23/24            Page: 52 of 73

Debtor 1            Charles             Eli                   Slack                                                Case number (if known)
                    First Name          Middle Name            Last Name
 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Where is the property?                             Describe the property                     Value



    Owner's Name
                                               Number     Street



    Number     Street

                                               City                       State   ZIP Code



    City                   State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Governmental unit                             Environmental law, if you know it              Date of notice



    Name of site                              Governmental unit



    Number     Street                         Number     Street



                                              City                State     ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.



Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 10
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Debtor 1            Charles               Eli                       Slack                                            Case number (if known)
                    First Name            Middle Name               Last Name

                                                   Governmental unit                        Environmental law, if you know it                 Date of notice



    Name of site                                  Governmental unit



    Number        Street                          Number       Street



                                                  City                  State   ZIP Code


    City                    State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                   Court or agency                          Nature of the case                                Status of the case



    Case title                                                                                                                                ❑ Pending
                                                                                                                                              ❑ On appeal
                                                  Court Name


                                                                                                                                              ❑ Concluded
                                                  Number       Street


    Case number
                                                  City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ✔ No. None of the above applies. Go to Part 12.
    ❑
    ❑ Yes. Check all that apply above and fill in the details below for each business.
                                                    Describe the nature of the business                      Employer Identification number
                                                                                                             Do not include Social Security number or ITIN.
    Name
                                                                                                              EIN:          –

    Number        Street
                                                    Name of accountant or bookkeeper                         Dates business existed


                                                                                                              From                  To

    City                    State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 11
                                     Case: 24-12383                 Doc: 1      Filed: 08/23/24            Page: 54 of 73

Debtor 1            Charles              Eli                      Slack                                       Case number (if known)
                    First Name           Middle Name              Last Name



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.
                                                  Date issued



    Name                                         MM / DD / YYYY



    Number       Street




    City                   State   ZIP Code




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ Charles Eli Slack
           Signature of Charles Eli Slack, Debtor 1


           Date 08/23/2024




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑ Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                      Attach the Bankruptcy Petition Preparer’s Notice,
    ❑ Yes. Name of person                                                                             Declaration, and Signature (Official Form 119).




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 12
                                        Case: 24-12383               Doc: 1             Filed: 08/23/24       Page: 55 of 73


 Fill in this information to identify your case:

  Debtor 1                  Charles                Eli                 Slack
                           First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name        Last Name

  United States Bankruptcy Court for the:                     Western District of Oklahoma

  Case number                                                                                                                     ❑ Check if this is an
  (if known)                                                                                                                          amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                               12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier,
unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the
form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name
and case number (if known).


 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
     Identify the creditor and the property that is collateral             What do you intend to do with the property that secures Did you claim the property as
                                                                           a debt?                                                 exempt on Schedule C?

    Creditor’s                                                             ❑ Surrender the property.                                ✔ No
                                                                                                                                    ❑
    name:               Chrysler Capital
                                                                           ❑ Retain the property and redeem it.                     ❑ Yes
    Description of
    property
                        2024 Ram 1500
                                                                           ❑ Retain the property and enter into a
    securing debt:                                                                Reaffirmation Agreement.
                                                                           ✔ Retain the property and [explain]:
                                                                           ❑
                                                                                  pay

    Creditor’s                                                             ❑ Surrender the property.                                ❑ No
    name:               Performance Finance
                                                                           ❑ Retain the property and redeem it.                     ✔ Yes
                                                                                                                                    ❑
    Description of
    property
                        2023 Indian Springfield Darkhorse
                        Motorcycle
                                                                           ❑ Retain the property and enter into a
    securing debt:                                                                Reaffirmation Agreement.
                                                                           ✔ Retain the property and [explain]:
                                                                           ❑
                                                                                  pay




Official Form 108                                        Statement of Intention for Individuals Filing Under Chapter 7                                       page 1
                                  Case: 24-12383              Doc: 1         Filed: 08/23/24            Page: 56 of 73


 Debtor 1            Charles            Eli                    Slack                                        Case number (if known)
                     First Name         Middle Name            Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the
 information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an
 unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                         Will the lease be assumed?
    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
   property that is subject to an unexpired lease.



  ✘ /s/ Charles Eli Slack
      Signature of Debtor 1


      Date 08/23/2024
            MM/ DD/ YYYY




Official Form 108                                 Statement of Intention for Individuals Filing Under Chapter 7                                          page 2
                                        Case: 24-12383                          Doc: 1               Filed: 08/23/24                        Page: 57 of 73


B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                              Western District of Oklahoma

In re        Slack, Charles Eli

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                       7


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $1,862.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $1,862.00

        Balance Due ................................................................................................................................................            $0.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

        d.      Debtor has also deposited with Luke Homen Law, PLLC, the costs involved in this matter. The costs included the court filing fee,
                credit counseling classes, and credit report. This amount was held in trust prior to filing and is not included in the above-stated
                amount.

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                  Page 1 of 2
                            Case: 24-12383            Doc: 1       Filed: 08/23/24           Page: 58 of 73


B2030 (Form 2030) (12/15)


      Representation does not include adversarial complaints, appeals, depositions, or creditor discovery requests. Non-standard motions,
      such as a Motion for Redemption, will require an additional fee.



                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                         08/23/2024                                               /s/ Alex Sullivan
                Date                                         Alex Sullivan
                                                             Signature of Attorney
                                                                                                Bar Number: 33618
                                                                                           Luke Homen Law, PLLC
                                                                                            10313 Greenbriar Pkwy
                                                                                          Oklahoma City, OK 73159
                                                                                            Phone: (405) 639-2099
                                                                                               Fax: (405) 202-1654

                                                                               Luke Homen Law, PLLC
                                                             Name of law firm




                                                                 Page 2 of 2
                                        Case: 24-12383                 Doc: 1          Filed: 08/23/24     Page: 59 of 73
 Fill in this information to identify your case:                                                             Check one box only as directed in this form and in
                                                                                                             Form 122A-1Supp:
  Debtor 1                  Charles
                           First Name
                                                   Eli
                                                   Middle Name
                                                                       Slack
                                                                       Last Name
                                                                                                             ❑ 1. There is no presumption of abuse.
                                                                                                             ✔ 2. The calculation to determine if a presumption
                                                                                                             ❑
  Debtor 2
                                                                                                                of abuse applies will be made under Chapter 7
  (Spouse, if filing)      First Name              Middle Name         Last Name                                Means Test Calculation (Official Form 122A-2).

  United States Bankruptcy Court for the:                   Western District of Oklahoma                     ❑ 3. The Means Test does not apply now because
                                                                                                                of qualified military service but it could apply later.
  Case number
  (if known)                                                                                                 ❑ Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                              12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name
and case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or
because of qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp)
with this form.

 Part 1: Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
     ✔ Not married. Fill out Column A, lines 2-11.
     ❑
     ❑ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
     ❑ Married and your spouse is NOT filing with you. You and your spouse are:
        ❑ Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.
        ❑ Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income
  varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For
  example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write
  $0 in the space.

                                                                                                         Column A             Column B
                                                                                                         Debtor 1             Debtor 2 or
                                                                                                                              non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all payroll
    deductions).                                                                                             $4,550.96
 3. Alimony and maintenance payments. Do not include payments from a spouse if Column B
    is filled in.                                                                                                   $0.00
 4. All amounts from any source which are regularly paid for household expenses of you or
    your dependents, including child support. Include regular contributions from an
    unmarried partner, members of your household, your dependents, parents, and
    roommates. Include regular contributions from a spouse only if Column B is not filled in. Do
    not include payments you listed on line 3.                                                                      $0.00
 5. Net income from operating a business, profession,
                                                                       Debtor 1        Debtor 2
    or farm
     Gross receipts (before all deductions)                                $0.00

     Ordinary and necessary operating expenses                     -       $0.00   -
                                                                                                  Copy
                                                                           $0.00
     Net monthly income from a business, profession, or farm                                      here
                                                                                                  →                 $0.00
 6. Net income from rental and other real property                     Debtor 1        Debtor 2
     Gross receipts (before all deductions)                                $0.00

     Ordinary and necessary operating expenses                     -       $0.00   -
                                                                                                  Copy
                                                                           $0.00
     Net monthly income from rental or other real property                                        here
                                                                                                  →                 $0.00
 7. Interest, dividends, and royalties                                                                              $0.00

 Official Form 122A-1                                            Chapter 7 Statement of Your Current Monthly Income                                             page 1
                                                 Case: 24-12383                             Doc: 1       Filed: 08/23/24            Page: 60 of 73
Debtor 1                   Charles                        Eli                               Slack                                         Case number (if known)
                           First Name                     Middle Name                       Last Name
                                                                                                                           Column A                       Column B
                                                                                                                           Debtor 1                       Debtor 2 or
                                                                                                                                                          non-filing spouse
       8. Unemployment compensation                                                                                                        $0.00
           Do not enter the amount if you contend that the amount received was a benefit
           under
           the Social Security Act. Instead, list it here: ..................................................   ↓
           For you....................................................................................          $0.00
           For your spouse......................................................................
       9. Pension or retirement income. Do not include any amount received that was a                                                      $0.00
          benefit under the Social Security Act. Also, except as stated in the next sentence,
          do not include any compensation, pension, pay, annuity, or allowance paid by the
          United States Government in connection with a disability, combat-related injury or
          disability, or death of a member of the uniformed services. If you received any
          retired pay paid under chapter 61 of title 10, then include that pay only to the extent
          that it does not exceed the amount of retired pay to which you would otherwise be
          entitled if retired under any provision of title 10 other than chapter 61 of that title.
       10. Income from all other sources not listed above. Specify the source and amount.
           Do not include any benefits received under the Social Security Act; payments
           received as a victim of a war crime, a crime against humanity, or international or
           domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by
           the United States Government in connection with a disability, combat-related
           injury or disability, or death of a member of the uniformed services. If necessary,
           list other sources on a separate page and put the total below.
     IRA withdrawal                                                                                                                      $66.00
     Proceeds from motorcycle sale                                                                                                     $400.00

     Total amounts from separate pages, if any.                                                                            +                               +

       11. Calculate your total current monthly income. Add lines 2 through 10 for                                                  $5,016.96              +                        = $5,016.96
           each column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                     Total current
                                                                                                                                                                                    monthly income

 Part 2: Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a. Copy your total current monthly income from line 11....................................................................................      Copy line 11 here →            $5,016.96
            Multiply by 12 (the number of months in a year).                                                                                                                         X 12
    12b. The result is your annual income for this part of the form.                                                                                                       12b.     $60,203.52
13. Calculate the median family income that applies to you. Follow these steps:
    Fill in the state in which you live.                                             Oklahoma

    Fill in the number of people in your household.                                  1

    Fill in the median family income for your state and size of household.................................................................................................... 13.   $55,362.00
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?

    14a. ❑ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
           Go to Part 3. Do NOT fill out or file Official Form 122A-2.
         ✔ Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
    14b. ❑
           Go to Part 3 and fill out Form 122A–2.




Official Form 122A-1                                                                  Chapter 7 Statement of Your Current Monthly Income                                                    page 2
                                   Case: 24-12383                Doc: 1         Filed: 08/23/24           Page: 61 of 73
Debtor 1           Charles               Eli                     Slack                                        Case number (if known)
                   First Name            Middle Name              Last Name

Part 3: Sign Below

    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

   ✘ /s/ Charles Eli Slack
       Signature of Debtor 1

       Date 08/23/2024
              MM/ DD/ YYYY

    If you checked line 14a, do NOT fill out or file Form 122A–2.
    If you checked line 14b, fill out Form 122A–2 and file it with this form.




Official Form 122A-1                                         Chapter 7 Statement of Your Current Monthly Income                              page 3
                                                  Case: 24-12383                              Doc: 1                 Filed: 08/23/24          Page: 62 of 73
 Fill in this information to identify your case:                                                                                                     Check the appropriate box as directed in lines
                                                                                                                                                     40 or 42:
  Debtor 1                         Charles                          Eli                          Slack
                                                                                                                                                     According to the calculations required by this
                                   First Name                      Middle Name                 Last Name
                                                                                                                                                     Statement:
  Debtor 2                                                                                                                                           ✔ 1. There is no presumption of abuse.
                                                                                                                                                     ❑
  (Spouse, if filing)              First Name                      Middle Name                 Last Name
                                                                                                                                                     ❑ 2. There is a presumption of abuse.
  United States Bankruptcy Court for the:                                          Western District of Oklahoma

  Case number
  (if known)
                                                                                                                                                     ❑ Check if this is an amended filing

Official Form 122A-2
Chapter 7 Means Test Calculation                                                                                                                                                               04/22
To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name
and case number (if known).



 Part 1: Determine Your Adjusted Income


 1.    Copy your total current monthly income. ................................ Copy line 11 from Official From 122A-1 here →..............                                              $5,016.96

 2.    Did you fill out Column B in Part 1 of Form 122A-1?
       ✔ No. Fill in $0 for the total on line 3.
       ❑
       ❑ Yes. Is your spouse filing with you?
          ❑ No. Go to line 3.
          ❑ Yes. Fill in $0 for the total on line 3.

 3.    Adjust your current monthly income by subtracting any part of your spouse’s income not used to pay for the household
       expenses of you or your dependents. Follow these steps:

       On line 11, Column B of Form 122A–1, was any amount of the income you reported for your spouse NOT regularly used for the
       household expenses of you or your dependents?
       ✔ No. Fill in 0 for the total on line 3.
       ❑
       ❑ Yes. Fill in the information below:

               State each purpose for which the income was used                                                          Fill in the amount you
                                                                                                                         are subtracting from
               For example, the income is used to pay your spouse’s tax debt or                                          your spouse's income
               to support people other than you or your dependents




                                                                                                                         +
                                                                                                                                                                                 –            $0.00
               Total .................................................................................................                   $0.00    Copy total here.......→


 4.    Adjust your current monthly income. Subtract the total on line 3 from line 1.                                                                                                     $5,016.96




 Official Form 122A-2                                                                                   Chapter 7 Means Test Calculation                                                       page 1
                                             Case: 24-12383                          Doc: 1              Filed: 08/23/24                   Page: 63 of 73
Debtor 1                 Charles                      Eli                             Slack                                                    Case number (if known)
                         First Name                   Middle Name                     Last Name


Part 2: Calculate Your Deductions from Your Income


 The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the questions in
 lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This information may also be available
 at the bankruptcy clerk’s office.


 Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual expenses if
 they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse’s income in line 3 and do not deduct any operating
 expenses that you subtracted from income in lines 5 and 6 of Form 122A–1.



 If your expenses differ from month to month, enter the average expense.



 Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A–1 is filled in.




  5. The number of people used in determining your deductions from income
         Fill in the number of people who could be claimed as exemptions on your federal income tax return, plus the
                                                                                                                                                                  1
         number of any additional dependents whom you support. This number may be different from the number of
         people in your household.




    National Standards                        You must use the IRS National Standards to answer the questions in lines 6-7.




  6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National                                                               $808.00
     Standards, fill in the dollar amount for food, clothing, and other items.



  7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in the
     dollar amount for out-of-pocket health care. The number of people is split into two categories─people who are under 65 and people
     who are 65 or older─because older people have a higher IRS allowance for health care costs. If your actual expenses are higher
     than this IRS amount, you may deduct the additional amount on line 22.




   People who are under 65 years of age

   7a. Out-of-pocket health care allowance per person                                            $83.00
   7b. Number of people who are under 65                                                   X        1

   7c. Subtotal. Multiply line 7a by line 7b.                                                     $83.00               Copy here →              $83.00

   People who are 65 years of age or older

   7d. Out-of-pocket health care allowance per person                                          $158.00
   7e. Number of people who are 65 or older                                                X        0

   7f.     Subtotal. Multiply line 7d by line 7e.                                                   $0.00              Copy here →         +      $0.00


   7g. Total. Add lines 7c and 7f. .....................................................................................................       $83.00 Copy total here →    $83.00



Official Form 122A-2                                                                           Chapter 7 Means Test Calculation                                              page 2
                                           Case: 24-12383                      Doc: 1            Filed: 08/23/24                  Page: 64 of 73
Debtor 1                Charles                   Eli                          Slack                                                   Case number (if known)
                        First Name                Middle Name                  Last Name




       Local Standards         You must use the IRS Local Standards to answer the questions in lines 8-15.


  Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
  bankruptcy purposes into two parts:

   Housing and utilities – Insurance and operating expenses

   Housing and utilities – Mortgage or rent expenses

  To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
  specified in the separate instructions for this form. This chart may also be available at the bankruptcy clerk’s office.

  8.     Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in the dollar                                   $589.00
         amount listed for your county for insurance and operating expenses...........................................................................................

  9.     Housing and utilities – Mortgage or rent expenses:
           9a. Using the number of people you entered in line 5, fill in the dollar amount listed for                                $1,077.00
               your county for mortgage or rent expenses..................................................................

           9b. Total average monthly payment for all mortgages and other debts secured by your
               home.

               To calculate the total average monthly payment, add all amounts that are
               contractually due to each secured creditor in the 60 months after you file for
               bankruptcy. Then divide by 60.

                 Name of the creditor                                                  Average monthly
                                                                                       payment




                                                                                         +
                                                                                                                   Copy                                Repeat this
                                 Total average monthly payment                                       $0.00                       –          $0.00
                                                                                                                   here →                              amount on
                                                                                                                                                       line 33a.

         9c. Net mortgage or rent expense.

              Subtract line 9b (total average monthly payment) from line 9a (mortgage or                                                                 Copy
                                                                                                                                      $1,077.00          here →          $1,077.00
              rent expense). If this amount is less than $0, enter $0.................................................


  10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects                                                  $0.00
      the calculation of your monthly expenses, fill in any additional amount you claim.
         Explain
         why:



   11.     Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
           ❑ 0. Go to line 14.
           ❑ 1. Go to line 12.
           ✔ 2 or more. Go to line 12.
           ❑

   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating                                              $520.00
       expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.




Official Form 122A-2                                                                   Chapter 7 Means Test Calculation                                                             page 3
                                      Case: 24-12383                   Doc: 1          Filed: 08/23/24             Page: 65 of 73
Debtor 1               Charles               Eli                       Slack                                           Case number (if known)
                       First Name            Middle Name               Last Name



 13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
     You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
     more than two vehicles.


           Vehicle 1       Describe Vehicle 1:     2024 Ram 1500


      13a. Ownership or leasing costs using IRS Local Standard.......................................             $619.00

      13b. Average monthly payment for all debts secured by Vehicle 1.
             Do not include costs for leased vehicles.
             To calculate the average monthly payment here and on line
             13e, add all amounts that are contractually due to each
             secured creditor in the 60 months after you file for bankruptcy.
             Then divide by 60.

              Name of each creditor for Vehicle 1                     Average monthly
                                                                      payment
              Chrysler Capital                                                     $837.00
                                                                      +
                                                                                                                                   Repeat this
                                                                                   $837.00          Copy                           amount on
                                Total average monthly payment                                       here →    –     $837.00        line 33b.


      13c. Net Vehicle 1 ownership or lease expense                                                                                Copy net
                                                                                                                                   Vehicle 1
              Subtract line 13b from line 13a. If this number is less than $0, enter $0.............                   $0.00       expense
                                                                                                                                   here....→        $0.00



                                              2023 Indian Springfield Darkhorse
    Vehicle 2          Describe Vehicle 2:
                                              Motorcycle




  13d. Ownership or leasing costs using IRS Local Standard.......................................            $619.00

  13e. Average monthly payment for all debts secured by Vehicle 2.
       Do not include costs for leased vehicles.

              Name of each creditor for Vehicle 2                     Average monthly
                                                                      payment
              Performance Finance                                                  $390.00
                                                                      +
                                                                                                                                   Repeat this
                                                                                   $390.00          Copy                           amount on
                                Total average monthly payment                                       here →    –     $390.00        line 33c.

        13f. Net Vehicle 2 ownership or lease expense                                                                              Copy net
                                                                                                                                   Vehicle 2
              Subtract line 13e from 13d. If this number is less than $0, enter $0.............                     $229.00        expense
                                                                                                                                   here....→      $229.00

 14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public Transportation
     expense allowance regardless of whether you use public transportation.

 15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also deduct a
     public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim more than the IRS
     Local Standard for Public Transportation.                                                                                                      $0.00




Official Form 122A-2                                                          Chapter 7 Means Test Calculation                                       page 4
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Debtor 1              Charles              Eli                     Slack                                           Case number (if known)
                      First Name           Middle Name             Last Name




  Other Necessary              In addition to the expense deductions listed above, you are allowed your monthly expenses for the
  Expenses                     following IRS categories.


16. Taxes:                                                                                                                                    $956.65
    The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, selfemployment taxes,
    Social Security taxes, and Medicare taxes. You may include the monthly amount withheld from your pay for these taxes. However, if
    you expect to receive a tax refund, you must divide the expected refund by 12 and subtract that number from the total monthly amount
    that is withheld to pay for taxes.
    Do not include real estate, sales, or use taxes.


17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions, union dues, and      $0.00
    uniform costs.
     Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.


18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing together,        $0.00
    include payments that you make for your spouse’s term life insurance. Do not include premiums for life insurance on your dependents,
    for a non-filing spouse’s life insurance, or for any form of life insurance other than term.

19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative agency, such as         $0.00
    spousal or child support payments.
     Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.


20. Education: The total monthly amount that you pay for education that is either required:                                                     $0.00
           as a condition for your job, or
           for your physically or mentally challenged dependent child if no public education is available for similar services.

21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.                       $0.00
    Do not include payments for any elementary or secondary school education.


22. Additional health care expenses, excluding insurance costs:                                                                                 $0.00
    The monthly amount that you pay for health care that is required for the health and welfare of you or your dependents and that is not
    reimbursed by insurance or paid by a health savings account. Include only the amount that is more than the total entered in line 7.
    Payments for health insurance or health savings accounts should be listed only in line 25.


23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for you and your +          $0.00
    dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone service, to the extent
    necessary for your health and welfare or that of your dependents or for the production of income, if it is not reimbursed by your
    employer.
     Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment expenses, such
     as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.


24. Add all of the expenses allowed under the IRS expense allowances.                                                                        $4,262.65
    Add lines 6 through 23.




Official Form 122A-2                                                      Chapter 7 Means Test Calculation                                           page 5
                                   Case: 24-12383                 Doc: 1          Filed: 08/23/24            Page: 67 of 73
Debtor 1            Charles               Eli                     Slack                                            Case number (if known)
                    First Name            Middle Name             Last Name




  Additional Expense           These are additional deductions allowed by the Means Test.
  Deductions                   Note: Do not include any expense allowances listed in lines 6-24.


25.    Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health insurance,
       disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your dependents.

        Health insurance                                               $52.00
        Disability insurance                                              $0.00
        Health savings account                                +           $0.00
        Total                                                          $52.00                      Copy total here → ..............................       $52.00

       Do you actually spend this total amount?

       ❑ No. How much do you actually spend?
       ✔ Yes
       ❑
26.    Continuing contributions to the care of household or family members. The actual monthly expenses that you will continue to pay                      $0.00
       for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your household or member of
       your immediate family who is unable to pay for such expenses. These expenses may include contributions to an account of a
       qualified ABLE program. 26 U.S.C. § 529A(b).

27.    Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of you and                      $0.00
       your family under the Family Violence Prevention and Services Act or other federal laws that apply.
       By law, the court must keep the nature of these expenses confidential.


28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
      If you believe that you have home energy costs that are more than the home energy costs included in expenses on line 8, then fill in
      the excess amount of home energy costs.                                                                                                              $0.00
      You must give your case trustee documentation of your actual expenses, and you must show that the additional amount claimed is
      reasonable and necessary.

29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $189.58* per child)                             $0.00
    that you pay for your dependent children who are younger than 18 years old to attend a private or public elementary or secondary
    school.
      You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is reasonable
      and necessary and not already accounted for in lines 6-23.
      * Subject to adjustment on 4/01/25, and every 3 years after that for cases begun on or after the date of adjustment.

30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher than the                           $0.00
    combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the food and clothing
    allowances in the IRS National Standards.
      To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for this form.
      This chart may also be available at the bankruptcy clerk’s office.
      You must show that the additional amount claimed is reasonable and necessary.

31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial instruments to a            +    $0.00
    religious or charitable organization. 126 U.S.C. § 170(c)(1)-(2).
32. Add all of the additional expense deductions.                                                                                                         $52.00
    Add lines 25 through 31.




Official Form 122A-2                                                   Chapter 7 Means Test Calculation                                                        page 6
                                            Case: 24-12383                          Doc: 1              Filed: 08/23/24                    Page: 68 of 73
Debtor 1               Charles                      Eli                             Slack                                                       Case number (if known)
                       First Name                   Middle Name                     Last Name


 Deductions for Debt Payment


33.   For debts that are secured by an interest in property that you own, including home mortgages, vehicle loans, and
      other secured debt, fill in lines 33a through 33e.
      To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in
      the 60 months after you file for bankruptcy. Then divide by 60.
                                                                                                                                               Average monthly
                                                                                                                                               payment
       Mortgages on your home

       33a. Copy line 9b here .....................................................................................................→                      $0.00

       Loans on your first two vehicles

       33b. Copy line 13b here ..................................................................................................→                      $837.00

       33c. Copy line 13e here ..................................................................................................→                      $390.00

       33d. List other secured debts:

           Name of each creditor for other                         Identify property that secures the                         Does payment
           secured debt                                            debt                                                       include taxes
                                                                                                                              or insurance?

                                                                                                                             ❑ No
                                                                                                                             ❑ Yes
                                                                                                                             ❑ No
                                                                                                                             ❑ Yes
                                                                                                                             ❑ No
                                                                                                                             ❑ Yes               +
                                                                                                                                                                  Copy total
                                                                                                                                                     $1,227.00    here→        $1,227.00
       33e. Total average monthly payment. Add lines 33a through 33d. ...................................
 34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary for your
     support or the support of your dependents?

      ❑ No. Go to line 35.
      ✔ Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep
      ❑
            possession of your property (called the cure amount). Next, divide by 60 and fill in the information below.

       Name of the creditor                               Identify property that                          Total cure                           Monthly cure
                                                          secures the debt                                amount                               amount
                                                                                                                                  ÷ 60 =
                                                                                                                                  ÷ 60 =
                                                                                                                                  ÷ 60 =        +

                                                                                                                                       Total           $0.00      Copy total
                                                                                                                                                                                  $0.00
                                                                                                                                                                  here→
 35. Do you owe any priority claims such as a priority tax, child support, or alimony—
     that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

      ✔ No. Go to line 36.
      ❑
      ❑ Yes. Fill in the total amount of all of these priority claims. Do not include current or ongoing priority claims, such as
                 those you listed in line 19.
                 Total amount of all past-due priority claims..................................................................                                     ÷ 60 ≡




Official Form 122A-2                                                                         Chapter 7 Means Test Calculation                                                         page 7
                                                Case: 24-12383                           Doc: 1               Filed: 08/23/24                         Page: 69 of 73
Debtor 1                  Charles                       Eli                              Slack                                                             Case number (if known)
                          First Name                    Middle Name                      Last Name



 36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
     For more information, go online using the link for Bankruptcy Basics specified in the separate
     instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk’s office.
        ✔ No. Go to line 37.
        ❑
        ❑ Yes. Fill in the following information.
                       Projected monthly plan payment if you were filing under Chapter 13
                       Current multiplier for your district as stated on the list issued by the
                       Administrative Office of the United States Courts (for districts in Alabama and
                       North Carolina) or by the Executive Office for United States Trustees (for all
                       other districts).                                                                                                  X

                       To find a list of district multipliers that includes your district, go online using the
                       link specified in the separate instructions for this form. This list may also be
                       available at the bankruptcy clerk’s office.
                                                                                                                                                                              Copy total
                       Average monthly administrative expense if you were filing under Chapter 13                                                                             here →

 37. Add all of the deductions for debt payment.
     Add lines 33e through 36.................................................................................................................................................................        $1,227.00



  Total Deductions from Income

 38. Add all of the allowed deductions.
          Copy line 24, All of the expenses allowed under IRS
                                                                                                                  $4,262.65
          expense allowances .............................................................

          Copy line 32, All of the additional expense deductions .........                                             $52.00
          Copy line 37, All of the deductions for debt payment ..............                        +            $1,227.00

                                                                          Total deductions                       $5,541.65               Copy total here........................... →                 $5,541.65


Part 3: Determine Whether There Is a Presumption of Abuse


 39. Calculate monthly disposable income for 60 months


          39a.       Copy line 4, adjusted current monthly income .....                                           $5,016.96

          39b.       Copy line 38, Total deductions..........                                        –            $5,541.65


          39c.       Monthly disposable income. 11 U.S.C. § 707(b)(2).                                                                    Copy
                                                                                                                  ($524.69)               here →                        ($524.69)
                     Subtract line 39b from line 39a.

                     For the next 60 months (5 years) ........................................................................................                  x 60

                                                                                                                                                                                          Copy     ($31,481.40)
          39d.       Total. Multiply line 39c by 60. ..............................................................................................              ($31,481.40)
                                                                                                                                                                                          here →


 40. Find out whether there is a presumption of abuse. Check the box that applies:
        ✔ The line 39d is less than $9,075.00*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go
        ❑
             to Part 5.

        ❑ The line 39d is more than $15,150.00*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You
             may fill out Part 4 if you claim special circumstances. Then go to Part 5.

        ❑ The line 39d is at least $9,075.00*, but not more than $15,150.00*. Go to line 41.
             * Subject to adjustment on 4/01/25, and every 3 years after that for cases filed on or after the date of adjustment



Official Form 122A-2                                                                     Chapter 7 Means Test Calculation                                                                                  page 8
                                      Case: 24-12383                   Doc: 1           Filed: 08/23/24                 Page: 70 of 73
Debtor 1             Charles                 Eli                       Slack                                              Case number (if known)
                     First Name              Middle Name                Last Name


 41.    41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out A
             Summary of Your Assets and Liabilities and Certain Statistical Information Schedules
             (Official Form 106Sum), you may refer to line 3b on that form...........................................
                                                                                                                             x .25
        41b. 25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I).
             Multiply line 41a by 0.25.                                                                                                        Copy
                                                                                                                                               here →
 42. Determine whether the income you have left over after subtracting all allowed deductions
     is enough to pay 25% of your unsecured, nonpriority debt.
       Check the box that applies:

       ❑ Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
           Go to Part 5.

       ❑ Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption
           of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.


Part 4: Give Details about Special Circumstances


43.    Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
       reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

       ✔ No.
       ❑           Go to part 5.
       ❑ Yes.      Fill in the following information. All figures should reflect your average monthly expense or income adjustment for each item.
                   You may include expenses you listed in line 25.


                   You must give a detailed explanation of the special circumstances that make the expenses or income adjustments necessary
                   and reasonable. You must also give your case trustee documentation of your actual expenses or income adjustments.


                     Give a detailed explanation of the special circumstances                                               Average monthly expense
                                                                                                                            or income adjustment




Part 5: Sign Below

        By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


        ✘ /s/ Charles Eli Slack
             Signature of Debtor 1


             Date 08/23/2024
                    MM/ DD/ YYYY




Official Form 122A-2                                                   Chapter 7 Means Test Calculation                                                 page 9
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                                                 IN THE UNITED STATES BANKRUPTCY COURT
                                                      WESTERN DISTRICT OF OKLAHOMA
                                                          OKLAHOMA CITY DIVISION

IN RE: Slack, Charles Eli                                                              CASE NO

                                                                                       CHAPTER 7




                                                   VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      08/23/2024             Signature                               /s/ Charles Eli Slack
                                                                          Charles Eli Slack, Debtor
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                  BQ & Associates, P.C., L.L.O.
                  c/o Brandon York
                  9140 Ward Pkwy Ste 200
                  Kansas City, MO 64114



                  Capital One
                  PO Box 30285
                  Salt Lake City, UT 84130




                  Chrysler Capital
                  PO Box 660335
                  Dallas, TX 75266




                  Citibank/Best Buy
                  Po Box 6497
                  Sioux Falls, SD 57117-6497




                  Discount Tire
                  Po Box 960061
                  Orlando, FL 32896-0061




                  First United Bk & Trus
                  Po Box 130
                  Durant, OK 74702




                  Fnb Omaha
                  Po Box 3412
                  Omaha, NE 68103




                  Internal Revenue Service
                  55 N Robinson Ave
                  Oklahoma City, OK 73102
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                  JCPenney/Synchrony
                  P.O. Box 965009
                  Orlando, FL 32896




                  Midland Credit Management
                  PO Box 939069
                  San Diego, CA 92193




                  Oklahoma Tax Commission
                  Attn: Legal-Bankruptcy
                  P.O. Box 269056
                  Oklahoma City, OK 73126



                  Performance Finance
                  Po Box 18887
                  Reno, NV 89511-0289




                  Portfolio Recovery Associates
                  Po Box 41067
                  Norfolk, VA 23541-1067




                  Td Auto Finance
                  Po Box 9223
                  Farmington Hills, MI 48333




                  The Bureaus Inc
                  1717 Central St
                  Evanston, IL 60201
